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                                                    February 1, 2024




    Honorable Rukhsanah L. Singh, U.S. M.J
    United States District Court
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street
    Trenton, NJ 08608

              Re:       Johnson & Johnson Talcum Power Products, Marketing, Sales Practices and
                        Products liability Litigation
                        Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Singh:

           I write on behalf of the Johnson & Johnson defendants in response to this morning’s letter
    from counsel for the Beasley Allen law firm (Doc. 28964) in order to clarify the record with regard
    to the use of powerpoints at oral argument on Wednesday. Beasley Allen’s counsel
    misunderstands at best or at worst misrepresents our position.

            Beasley Allen’s counsel has the powerpoint we used in the hearing before Judge Porto in
    state court. In response to their request on Monday for a copy of whatever would be used in the
    hearing before Your Honor, we wrote yesterday:

               I do not expect to make a final decision on any demonstratives for the
               February 7 hearing until that day, but we can agree to provide any materials
               by 9 am on February 7, so long as counsel for Beasley Allen agrees to do
               the same. Please let me know whether this will work on your end.

           Instead of meeting and conferring to resolve the issue, Beasley Allen’s
    counsel instead responded last night at 7:30 pm:

               Thank you. I appreciate your response. We will raise it with the court
               tomorrow.

           We will of course comply with Your Honor’s ruling in response to the letter from Beasley
    Allen’s counsel, but we wanted Your Honor to have the complete picture.
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    Honorable Rukhsanah L. Singh                   -2-                     February 1, 2024



            Thank you for your continued consideration of this matter.



                                                 Respectfully submitted,


                                                 Susan M. Sharko
    SMS
      All counsel via ECF

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